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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                   Plaintiff,              )
                                           )                8:06CR61
      vs.                                  )
                                           )              TRIAL ORDER
ARMANDO RODRIGUEZ,                         )
                                           )
                   Defendant.              )


       The defendant has filed a Motion to Continue Trial [101] due to "ongoing plea
negotiations." Absent a showing of good cause, the court's calendar cannot accommodate
the defendant's request. Considering the case history, see Trial Order [97], the court
believes the parties have been given adequate time to conduct plea negotiations.
Notwithstanding the defendant's waiver of speedy trial [100],

      IT IS ORDERED that defendant's motion to continue trial [101] is denied.

      DATED June 21, 2006.

                                       BY THE COURT:

                                       s/ F.A. Gossett
                                       United States Magistrate Judge
